  Case 10-16362-BFK            Doc 7 Filed 07/31/10 Entered 08/01/10 00:26:58                         Desc Imaged
                                   Certificate of Service Page 1 of 2
                                       United States Bankruptcy Court
                                             Eastern District of Virginia
                                                 Alexandria Division
                                             200 South Washington Street
                                                Alexandria, VA 22314


                                                             Case Number 10−16362
                                                             Chapter 13
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Mauricio Eduardo Cifuentes                                Mercy Clemencia Brito Rodriguez
   17335 Arrowood Place                                      17335 Arrowood Place
   Round Hill, VA 20141                                      Round Hill, VA 20141
Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−9382                                     Joint Debtor: xxx−xx−3636
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA                                                 Joint Debtor: NA


                                    NOTICE OF POSSIBLE DISMISSAL
                                              PURSUANT TO
                               LBR 1007−1 LISTS, SCHEDULES, STATEMENTS
                                                   AND
                              LBR 3015−2 CHAPTER 13 PLAN REQUIREMENTS

TO:           DEBTOR OR DEBTOR'S COUNSEL

You filed a petition with the Office of the Clerk of the United States Bankruptcy Court, Eastern District of Virginia,
on July 29, 2010. Pursuant to Local Bankruptcy Rule 1007−1 and 3015−2, please be advised that the following
document(s) are missing and must be filed within fourteen (14) days of the petition date.

Missing Documents Due:        August 12, 2010

Failure to timely file the missing document(s) or to timely seek an extension of time, will result in the automatic
dismissal of the bankruptcy case without further notice.

**Missing Document(s):

All Schedules (A−J) and Statement of Financial Affairs
Chapter 13 Statement of Current Monthly Income and Disposable Income Calculation
Chapter 13 Plan


                                                             William C. Redden
                                                             Clerk, United States Bankruptcy Court
Date:    July 29, 2010
                                                             /s/ Tawanna Lawson
                                                             Deputy Clerk
[10071_30152vDec2009]
         Case 10-16362-BFK               Doc 7 Filed 07/31/10 Entered 08/01/10 00:26:58                              Desc Imaged
                                             Certificate of Service Page 2 of 2
                                CERTIFICATE OF NOTICE
 District/off: 0422-9                  User: lawsont                      Page 1 of 1                          Date Rcvd: Jul 29, 2010
 Case: 10-16362                        Form ID: both2                     Total Noticed: 1

 The following entities were noticed by first class mail on Jul 31, 2010.
 db/jdb       +Mauricio Eduardo Cifuentes,   Mercy Clemencia Brito Rodriguez,                        17335 Arrowood Place,
                Round Hill, VA 20141-2488
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 31, 2010                                       Signature:
